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                            NORTHERN DISTRICT OF TEXAS     fEB "J.i
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                                                                      CLERK, U.S. DiSTRICT COURT
LION HEALTH SERVICES, INC.,                        §                     By
                                                   §
               Plaintiff,                          §
                                                   §
VS.                                                §   NO. 4:09-CV-493-A
                                                   §
KATHLEEN SEBELIUS, Secretary,                      §
United States Department of                        §
Health and Human Services,                         §
                                                   §
               Defendant.                          §



                                     MEMORANDUM OPINION
                                             and
                                            ORDER

       Now before the court is the motion of plaintiff, Lion Health

Services, Inc., for summary judgment.                         This action is one of

several pending in federal district courts nationwide in which a

hospice care provider such as plaintiff seeks an order

invalidating a federal regulation relating to the calculation of

the annual Medicare hospice provider cap.l                            Having considered the

motion, the response thereto of defendant, Kathleen Sebelius,

Secretary, United States Department of Health and Human Services


        lThe other pending cases are: IHG Healthcare. Inc. v. Sebelius, No. 4:09-CY-3323 (S.D. Tex.
filed Oct. 6,2009); Autumn Light Hospice v. Sebelius, No. 5:09-CY-178-M (W.D. Okla. filed Feb. 13,
2009); Hospice of New Mexico, LLC v. Sebelius, 1:09-CY-145 (D.N.M. filed Feb 13,2009); Zia
Hospice v. Sebelius, No. 1:09-CY-055-CG-LFG (D.N.M. filed Jan. 22, 2009); Compassionate Care
Hospice, LLC v. Sebelius, No. 5:09-CY-028-C (W.D. Okla. filed Jan. 12,2009); American Hospice, Inc.
v. Sebelius, No.1 :08-CY-1879-JEO (N.D. Ala. filed Nov. 9,2008); Autumn Bridge, LLC v. Sebelius,
No. 5:08-CY-819-F (W.D. Okla. filed Aug. 8,2008); Tri-County Hospice, Inc. v. Sebelius, No. 6:08-CY-
273-RAW (B.D. Okla. filed July 21,2008); Heart to Heart Hospice, Inc. v. Sebelius, No.1 :07-CY-289-
MPM-JAD (N.D. Miss. filed Nov. 13,2007). Summary judgment was granted in favor of the plaintiff in
Los Angeles Haven Hospice, Inc. v. Sebelius, No. 2:08-CY-4469-GW-RZ (C.D. Cal. July 13,2009).
Another case is currently pending on appeal in the U.S. Court of Appeals for the Tenth Circuit. Sojourn
Care, Inc. v. Sebelius, No. 4:07-CY-375-GKF-PJC (N.D. Okla. Mar. 3,2009), appeal docketed, No. 09-
5031 (lOth Cir. Mar. 11,2009).
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  (the "Secretary"), plaintiff's reply, and pertinent legal

  authorities, the court concludes that the motion should be
  granted.

                                                     1.

                                              Background

          Plaintiff is a hospice care provider in Hurst, Texas.                                      The

 Secretary heads the federal agency that administers the Medicare

 program.         As a holder of a Medicare provider agreement, plaintiff

 is reimbursed for the cost of hospice care that it provides to

 eligible Medicare beneficiaries.                         As is true for all hospice care

 providers that participate in the Medicare program, the total

 reimbursement that plaintiff may receive for hospice care it

 provides in any given accounting year 2 is subject to a limit or

 "cap."       Amounts reimbursed in excess of the cap are overpaYments
 and must be refunded to the Medicare program.




          2The statutory provisions concerning the hospice cap use "accounting year" to describe the period
 to which the cap applies. See 42 U.S.C. § 1395f(i). In their briefing, the parties use "fiscal year" to
 describe that same period. The court notes, however, that Congress used "fiscal year" in other sections of
 the Medicare Act. Therefore, the court assumes that Congress did not intend "accounting year" and
 "fiscal year" to mean the same thing. Presumably, Congress chose to use "accounting year" instead of
 "fiscal year" in the hospice cap provisions in order to allow the Secretary to calculate the cap over any
period, rather than forcing alignment with the government fiscal year. The Secretary adopted the twelve-
month period beginning November 1 and ending October 31 as the "accounting year." See 42 C.F.R.
§§ 418.3, 418.309(a). The hospice regulations call that period the "cap year" or "cap period." See 42
C.F.R. §§ 418.3, 418.309(a). To eliminate any potential confusion caused by the use of so many similar
terms, the court in this memorandum opinion and order will use "accounting year" to refer to the period
to which the cap applies. The court intends that term to be synonymous with "cap year" and "cap period"
as those terms are used in the hospice regulations.

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        On October 22, 2008, plaintiff's fiscal intermediary 3

notified plaintiff that its total Medicare reimbursement had

exceeded the cap for the 2006 accounting year by $1,137,113.                                        On

July 8, 2009, the fiscal intermediary notified plaintiff that its

total reimbursement for the 2007 accounting year had exceeded the

cap by $1,124,637.              In letters notifying plaintiff of the cap

determinations, plaintiff was asked to refund the amounts of its

overpaYments to the Medicare program.

        Pursuant to 42 U.S.C.              §   139500, plaintiff sought review of

the intermediary's overpaYment determinations before the Provider

Reimbursement Review Board (the "PRRB"), an administrative review

panel established to hear disputes Medicare providers have with

final decisions of their fiscal intermediaries.                                Plaintiff argued

to the PRRB that the intermediary's overpaYment determinations

were invalid in their entireties because they were calculated

using a regulation, 42 C.F.R.                   §   418.309(b) (1), that conflicts

with the statute describing how the annual provider cap should be

calculated.          In response to plaintiff's request to seek expedited

judicial review of its claims in federal court, the PRRB found

that it was without authority to decide the legal question of

whether      §   418.309(b) (1) was invalid, and, therefore, granted

plaintiff's request.




         3A fiscal intennediary is an insurance company that contracts with the Secretary to act on her
behalf in processing, reviewing, and paying Medicare claims submitted by providers. Baylor Uillv. Med.
Ctr. v. Heckler, 758 F.2d 1052, 1056 n.5 (5th Cir. 1985) (citing 42 U.S.c. § 1395h).

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       Plaintiff initiated the instant action on August 19, 2009.

In its "Complaint For Declaratory And Injunctive Relief And For

Sums Due Under The Medicare Act," plaintiff alleged that

§   418.309(b) (1) is contrary to the plain language of 42 U.S.C.

§   1395f(i) (2) (A) and (C), is arbitrary and capricious, and is in

excess of statutory authority.                As relief, plaintiff seeks (a)

declarations that (i)     §   418.309(b) (1) is unlawful and set aside

and (ii) the intermediary's overpaYment determinations for

accounting years 2006 and 2007, made under the unlawful

regulation, are set aside;       (b) an order enjoining the Secretary

from (i) enforcing the intermediary's overpaYment determinations

and (ii) prospectively using         §       418.309(b) (1)    to calculate

overpaYments, if any, for plaintiff or any other hospice care

provider;   (c) an order requiring the Secretary to return to

plaintiff all monies that plaintiff has paid toward repaYment of

the alleged 2006 and 2007 overpaYments; and (d) an order

requiring the Secretary to pay legal fees and costs of suit

incurred by plaintiff.

                                         II.

               Plaintiff's Motion for Summary Judgment

       Plaintiff recites in its motion for summary judgment that it

moves for summary judgment "on its claim that the hospice cap

regulation found at 42 C.F.R.            §    418.309(b) (1) is invalid as

contrary to the express statutory mandate on the method for

calculations codified at 42 U.S.C.                §   1395f(i) (2) (C)."     Pl. 's Mot.

for Summ. J. at 1.      The court assumes that plaintiff intends to

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request by its motion that the court grant all relief that would

follow from a declaration that        §   418.309(b) (1) is invalid.

Accordingly, the court will consider all of plaintiff's requested

relief in deciding plaintiff's motion.

                                     III.

  Description of Pertinent Medicare Act Provisions and Related
                           Regulations

       Title XVIII of the Social Security Amendments of 1965,

commonly known as the Medicare Act, established a federally

subsidized health insurance program for the aged and disabled.

Pub. L. No. 89-97, 79 Stat. 286 (codified as amended in scattered

sections of 42 U.S.C.).       In 1982, Congress amended Part A of the

Medicare Act to authorize coverage for hospice care.                 Tax Equity

and Fiscal Responsibility Act of 1982 (TEFRA), Pub. L. No. 97-

248,   §   122, 96 Stat. 356, 356-63 (codified as amended in

scattered sections of 42 U.S.C.).           "Hospice care is an approach

to treatment that recognizes that the impending death of an

individual warrants a change in focus from curative care to

palliative care," and the goal of hospice care is to help

terminally ill individuals live their remaining days comfortably,

in a home setting.      48 Fed. Reg. 56,008, 56008 (Dec. 16, 1983).

Items and services covered by the Medicare hospice care benefit

include nursing care, physical and occupational therapy, speech

language pathology services, medical-social services, homemaker-

home health aide services, physicians' services, short-term




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inpatient care, counseling, medical supplies, and drugs.                         42

U.S.C.   §   1395x(dd) (1) .

       To be eligible to receive hospice care benefits, an

individual must be certified by two physicians as "terminally

ill," defined by statute as having a medical prognosis that the

individual's life expectancy is six months or less.                        rd.   §§

1395f(a) (7) (A), 1395x(dd) (3) (A).             An eligible individual may
elect to receive hospice care benefits for two initial periods

lasting ninety days each.            rd.    §    1395d(d) (1).    An individual may
extend his election of benefits for an unlimited number of

subsequent periods lasting sixty days each, provided that he is

recertified as "terminally ill" at the beginning of each

subsequent period.        rd.   §§   1395d(d) (1); 1395f(a) (7) (A).

       Medicare reimburses a hospice care provider at one of four

predetermined rates for each day that an eligible beneficiary is

under the hospice provider's care.                  42 C.F.R.    §§   418.301(a),

418.302 (a)-(d); see 42 U.S.C. § 1395f(i) (1) (A)                 (authorizing the

Secretary to promulgate regulations for estimating the reasonable

cost of hospice care).          The applicable rate is determined by the

type and intensity of services provided by the hospice on a given

day.     42 C.F.R. § 418.302(a)-(d).              Although an individual may

receive benefits for an unlimited number of days, the total

Medicare reimbursement that any hospice care provider may receive

for care it provides to that individual in a given accounting




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year is limited to a "cap amount. ,,4                         42 U.S.C.       §   1395f(i) (2) (A).

According to legislative history,                         "the intent of the cap was to

ensure that paYments for hospice care would not exceed what would

have been expended by medicare if the patient had been treated in

a conventional setting."                    H. Rep. No. 98-333, at 1 (1983),                          as

reprinted in 1983 U.S.C.C.A.N. 1043, 1043.

          A hospice provider is also subject to an overall Medicare

reimbursement cap for all hospice care it provides in an

accounting year.               The overall cap for a given accounting year is

calculated by multiplying the "cap amount" for the year by the

"number of medicare beneficiaries in the hospice program in that

year."         42 U.S.C.       §   1395f(i)(2)(A). As defined by the statute,

          the "number of medicare beneficiaries" in a hospice
          program in an accounting year is equal to the number of
          individuals who have made an election under subsection
          (d) of this section with respect to the hospice program
          and have been provided hospice care by (or under
          arrangements made by) the hospice program under this
          part in the accounting year, such number reduced to
          reflect the proportion of hospice care that each such
          individual was provided in a previous or subsequent
          accounting year or under a plan of care established by
          another hospice program.

rd.   §    1395f(i) (2) (C).



          4The "cap amount" for a given accounting year is equal to:

          $6,500, increased or decreased, for accounting years that end after October 1, 1984, by
          the same percentage as the percentage increase or decrease, respectively, in the medical
          care expenditure category of the Consumer Price Index for All Urban Consumers (United
          States city average), published by the Bureau of Labor Statistics, from March 1984 to the
          fifth month of the accounting year.

42 U.S.C. § 1395f(i)(2)(B). The parties do not dispute that the "cap amounts" for accounting years 2006
and 2007 were $20,585.39 and $21,410.04, respectively.

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        The Secretary purportedly implemented         §    1395f(i) (2) (A) and

(C) by promulgating the regulation appearing at 42 C.F.R.

§    418.309(b).    That regulation, which plaintiff now claims is

invalid, provides:

             Each hospice's cap amount is calculated by the
        intermediary by multiplying the adjusted cap amount
        determined in paragraph (a) of this section by the
        number of Medicare beneficiaries who elected to receive
        hospice care from that hospice during the cap period.
        For purposes of this calculation, the number of
        Medicare beneficiaries includes-

              (1) Those Medicare beneficiaries who have not
        previously been included in the calculation of any
        hospice cap and who have filed an election to receive
        hospice care, in accordance with § 418.24, from the
        hospice during the period beginning on September 28 (35
        days before the beginning of the cap period) and ending
        September 27 (35 days before the end of the cap
        period) .

42 C.F.R.    §   418.309(b).

                                     IV.

                                 Analysis

A.      Summary Disposition Is Appropriate In This Action

        Rule 56(c) of the Federal Rules of Civil Procedure provides

that a court should render summary judgment "if the pleadings,

the discovery and disclosure materials on file, and any

affidavits show that there is no genuine issue as to any material

fact and that the movant is entitled to judgment as a matter of

law."     Summary judgment is therefore appropriate in cases where

the parties agree on the material facts and the only issue before

the court is a pure issue of law.          Sheline v. Dun & Bradstreet

Corp., 948 F.2d 174, 176 (5th Cir. 1991).             In this case, the


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 parties do not dispute any material facts, and the only issue the

 court must decide is a purely legal one: whether the method

 prescribed in 42 C.F.R.         §   418.309(b) (1) for counting the "number

 of medicare beneficiaries" in a hospice program in an accounting

year conflicts with 42 U.S.C.              §   1395f(i) (2) (C).   Thus, summary
disposition is appropriate.

B.     Plaintiff Has Standing

       Although the Secretary does not dispute plaintiff's standing

to challenge the validity            §   418.309(b) (1), standing is a

threshold issue in every federal case.                  Accordingly, before

deciding whether       §   418.309(b) (1) is invalid, the court must first

determine whether plaintiff has standing.

       Article III of the Constitution restricts federal courts to

deciding actual "cases" and "controversies."                  U.S. const. art.

III,   §   2; Valley Forge Christian ColI. v. Am. United for

Separation of Church & State, Inc., 454 U.S. 464, 471 (1982).

The requirement that a litigant have standing is part and parcel

of the "case-and-controversy" restriction.                  Valley Forge, 454

U.S. at 471; Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 37

(1976).     In essence, the inquiry into standing ensures that the

party invoking the court's jurisdiction, here the plaintiff, has

sufficient "personal stake" in the outcome of the dispute such

that the dispute is capable of resolution through the judicial

process and can be adjudicated by the court within the system of

separated powers.          Simon, 426 U.S. at 38 (quoting Warth v.

Seldin, 422 U.S. 490, 498-99 (1975)).                To establish standing for

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      the purposes of Article III, plaintiff must show, at a minimum,

      that (1) it has suffered "an injury-in-fact-an invasion of a

      legally protected interest which is (a) concrete and

      particularized, and (b) actual or imminent";            (2) the injury is

      "fairly traceable to the challenged action of the defendant, and

      not the result of the independent action of some third party not

      before the court"; and (3) it is "likely, as opposed to merely

      speculative, that the injury will be redressed by a favorable

      decision."     Lujan v. Defenders of Wildlife, 504         u.s. 555,     560-61

      (1992)   (internal quotation marks, citations, brackets, and

      ellipses omitted).

            The use of § 418.309(b) (1) to determine plaintiff's cap,

      and, ultimately, the amount of its cap overpaYments, gives

      plaintiff standing to challenge that regulation.              The use of

      §   418.309(b) (1) constitutes an injury-in-fact because the amounts

      plaintiff must refund were calculated using a method other than

      the method specified by Congress.          To show injury, plaintiff does

      not need to prove that its cap overpaYments will certainly be

      less if calculated under lawful regulations.             The legal right

      asserted by plaintiff in this action is the right to have its cap

      and cap overpaYments calculated according to the method specified

      by law, not the right to the return of a certain amount of money.

      See N.E. Fla. Chapter of Associated Gen. Contractors, Inc. v.

      Jacksonville, 508 u.s. 656, 666 (1994)           (holding that the "injury

      in fact" in an equal protection case is the denial of equal

      treatment, not the plaintiff's inability to obtain the benefit he

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was prevented from obtaining by the unequal treatment).                  In other

words, even if plaintiff's overpayments were to increase when

calculated according to the method called for in

 §   1395f(i) (2) (A) and (C), plaintiff would still be injured

because the amount of its overpayments were calculated according

to an unlawful regulation.            See Larson v. Valente, 456 u.S. 228,

241-42 (1982)      (holding that plaintiff was injured by application

of an allegedly unconstitutional statute that required

registration with and reporting of financial data to state

agency, even though plaintiff might eventually be compelled to

register and report for another reason) .

        The causation and redressability elements of the standing

inquiry are likewise satisfied.              There can be no doubt that

plaintiff's injury is fairly traceable to the promulgation by the

Secretary of the allegedly unlawful regulation.                Moreover, a

 favorable decision will redress plaintiff's injury: if the court

invalidates    §   418.309(b) (I), the Secretary will no longer be able

to use it to calculate plaintiff's cap and cap overpayments.

That, alone, would constitute substantial and meaningful relief

for plaintiff.         See id. at 242-43 & n.15.        Plaintiff "need not

show that a favorable decision will relieve [its]               every injury."

Id. at 244 n.15.        Consequently, plaintiff's satisfaction of the

redressability requirement also does not hinge on its ability to

show that its overpayments will certainly decrease when




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 calculated under lawful regulations. s                              In fact,    imposing such a

 requirement would, in the words of the Supreme Court, constitute

 a "draconic" interpretation of the redressability requirement.

 See id. at 243 n.15. 6                For these reasons, plaintiff has standing

 to challenge the validity of                     §       418.309(b) (1).

 C.      The Challenged Regulation Is Invalid

         The court evaluates plaintiff's contention that

 §    418.309(b) (1) is invalid using the two-step analysis

 established in Chevron U.S.A. Inc. v. Natural Resources Defense

 Council, Inc., 467 U.S. 837, 842-45 (1984).                                 Sid Peterson Mem'l

 Hosp. v. Thompson, 274 F.3d 301, 306-07 (5th Cir. 2001).                                          At the

 first step in the Chevron analysis, the court must determine

 whether Congress, in enacting                        §    1395f(i) (2) (C), directly spoke to

 the precise question addressed by                             §   418.309(b) (1), that is, how

 the "number of medicare beneficiaries" in a hospice program in an


          5Plaintiff has provided evidence, in the fonn of mathematical calculations, that it says show that
 its cap overpayments for accounting years 2006 and 2007 will decrease by more than $600,000 if its cap
 for those years is calculated according to the method required by § 1395f(i)(2)(A) and (C). Because the
 court holds that such a showing is not necessary for plaintiff to establish standing, the court has not
 evaluated the integrity of plaintiffs calculations.

         6The court rejects the Secretary's related argument that the court lacks subject matter jurisdiction
 because plaintiff has not shown that its overpayments will certainly be at least $10,000 less when
 calculated under the method specified in § 1395f(i)(2)(A) and (C). It is true that 42 U.S.C.
 § 13950o(a)(2) requires an amount in controversy of at least $10,000 in order for a provider to obtain a
 hearing before the PRRB and that a provider may request expedited judicial review only if it qualifies for
 a hearing. However, the statute also states that "[p]roviders shall also have the right to obtain judicial
 review of any action of the fiscal intennediary which involves a question of law or regulations relevant
 to the matters in controversy whenever the Board determines (on its own motion or at the reguest of a
 provider of services as described in the following sentence) that it is without authority to decide the
 guestion .... " Id. § 13950o(f)(1). The court reads the above-quoted language to mean that the court's
 subject matter jurisdiction is based on a determination by the PRRB that it lacks authority to decide the
 question presented by plaintiffs appeal. Such determinations were rendered in this case. The court sees
 no reason why it should review the PRRB's determination of its own authority at this time.

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accounting year should be calculated.              467     u.s. at 842.      If

Congress was clear about how the calculation should be made,

"that is the end of the matter; for the court, as well as the

agency, must give effect to the unambiguously expressed intent of

Congress."    Id. at 842-43.       If, on the other hand,

§   1395f(i) (2) (C) is silent or ambiguous with respect to how the

"number of medicare beneficiaries" should be calculated, the

court must then determine whether           §   418.309(b) (1) is based on a

permissible construction of the statute.                   Id. at 843.      If it is,

the court is bound to give that regulation deference.                       Id. at

844.

       The court need not proceed past the first step of the

Chevron analysis.      Congress was clear in           §    1395f(i) (2) (C) about

how the "number of beneficiaries" should be calculated.                      That

statute provides that the number of beneficiaries in a hospice

program in an accounting year is equal to the number of

individuals who elected to receive hospice benefits (at any time)

and were provided hospice care during that accounting year,

reduced as provided by      §   1395f(i) (2) (C).          By its plain language,

the statutory requirement that the number be "reduced to reflect

the proportion of hospice care that each such individual was

provided in a previous or subsequent accounting year" can only be

accomplished in one way: each such individual who was also

provided care in other accounting years must be counted toward

the "number of beneficiaries" in that year as a fraction.                         This

interpretation is also the only reasonable one in light of the

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 manifest intent of               §   1395(i) (2) (C), which is to cause the amount

 of a hospice provider's cap to directly relate to number of

 beneficiaries served by the hospice in a particular accounting

 year. 7

           Section 418.309(b) (1) clearly does not follow the method

 described in           §   1395f(i) (2) (C).           Instead, it drastically changes

 it.     Under      §   418.309(b) (I), an individual is included in his

 hospice provider's cap only in a single accounting year,

 regardless of whether that individual receives care in other

 accounting years.                Under     §   418.309(b) (I), an individual who

 elected to receive benefits on September 27, 2005, would be

 included in the "number of medicare beneficiaries" in his hospice

 program only in the 2005 accounting year, even if that individual

 continued to receive care into 2006 (and beyond), and an

 individual who elected to receive benefits on September 28, 2005,

 would be included in the "number of beneficiaries" in his hospice

 program only in the 2006 accounting year, even if his care was

 provided over two or more years.                           Thus, rather than merely to

 "reduce" the number of individuals who were provided care in a

 particular accounting year, the regulation completely excludes

 individuals who did not elect benefits in that accounting year or



          7The only possible uncertainty is whether the fraction to be used is (i) the number of days of care
 that the individual received in that year, divided by the total number of days that the individual spent in
 hospice care across all accounting years, or (ii) the cost of care attributable to the individual in that year,
 divided by the total cost of care attributable to that individual across all accounting years. Perhaps the
 Secretary has the discretion by regulation to clarify this possible uncertainty. However, no reasonable
 argument can be made that § 418.309(b)(1) could legitimately be considered to be a permissible
 construction of § 1395f(i)(2)(A) and (C).

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who elected benefits in the final thirty-five days of the

accounting year.         Moreover, the number generated by

 §   418.309(b) (1) does not reflect "the proportion of hospice care

 that each individual was provided in a previous or subsequent

accounting year," as the regulation does not contemplate

performance of the fractional calculation contemplated by the

 statute.

        The Secretary makes two arguments in defense of

 §   418.309(b) (1):     First, she says that the operative words of

 §   1395f(i) (2) (C),   "reflect" and "the proportion," are, by their

 nature, words of ambiguity, and therefore give the Secretary

 discretion to determine how to count the "number of medicare

 beneficiaries"; and, second, she says that calculating the number

 of beneficiaries using the method in           §   1395f(i) (2) (C) would be

 "difficult" and would "greatly increase Medicare's administrative

 burdens."     Def. 's Br. at 21.      The court disagrees.

        Although "reflect" and "proportion" may be ambiguous in

 other contexts, the meaning of those terms as they are used in

 §   1395f(i) (2) (C) is made clear by reference to the words

 immediately surrounding them in that statute.                 See Robinson v.

 Shell Oil Co., 519 U.S. 337, 341 (1997)                (stating that the

plainness or ambiguity of statutory language is determined by

 reference to the language itself and the context in which the

 language is used).        As the court in Los Angeles Haven Hospice,

 Inc. v. Sebelius, stated:        "Congress unquestionably required that

 the number of medicare beneficiaries be reduced to reflect 'the

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 proportion'         (not simply ~ proportion or an estimate as defendant

 would apparently have 'reflect' mean in this context) of hospice

    care that 'each such individual'           (not individuals in the

 aggregate)         'was provided in a previous or subsequent accounting

year.'"       No. 2:08-CV-4469-GW-RZ, slip op. at 7 (C.D. Cal. July

13, 2009)       (footnote omitted).        As for the Secretary's second

argument, no matter how burdensome              §   1395f(i) (2) (C) may be to

administer, the method prescribed therein is the law, and the

Secretary cannot act contrary to the law.                      See 5 U.S.C.    §

706(2) (A)i Ragsdale v. Wolverine World Wide, Inc., 535 u.S. 81,
91 (2002).

        For the reasons discussed above, the court concludes that

§    418.309(b) (1) is manifestly contrary to              §   1395f(i) (2) (C),

arbitrary and capricious, an abuse of discretion, not in

accordance with the law, and should be set aside.                        5 U.S.C.

§    706 (2) (A),    (2) (C) i Chevron, 467 U. S. at 844.

                                          V.

                              Relief to be Granted

        The Administrative Procedure Act, specifically 5 U.S.C.

§    706(2), gives the court authority to declare                  §   418.309(b) (1)

unlawful and to set that regulation aside.                     Section 706(2) states

that a court reviewing agency action shall "hold unlawful and set

aside agency action, findings, and conclusions found to be-(A)

arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with law                  [or]   (C) in excess of

statutory.           . authority."      5 U.S.C.    §   706 (2).

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         The APA likewise permits the court to enjoin the Secretary

 from prospectively using § 418.309(b) (1) to calculate plaintiff's

 cap and from enforcing the intermediary's overpaYment

 determinations against plaintiff because the federal government,

 through 5 U.S.C.        §     702, has waived its sovereign immunity in

 actions "seeking relief other than money damages."                   rd.    §   702;

 Anderson v. Jackson, 556 F.3d 351, 359 (5th Cir. 2009).

         Section 702 also permits the court to order the Secretary to

 return all monies that plaintiff has already repaid pursuant to

 the 2006 and 2007 overpaYment determinations.                 Bowen v.
Massachusetts, 487 U.S. 879, 893               (1988).

         The court is not at this time making an award of attorney's

 fees, as plaintiff has requested.              However, the final judgment of

this court is without prejudice to any request plaintiff might

wish to make for recovery of attorney's fees under the authority
of 28 U.S.C.       §   2412.

                                         VI.

                                        Order
      Therefore,

      For the reasons discussed above,

      The court ORDERS and DECLARES that 42 C.F.R.               §   418.309(b) (1)
is unlawful and that it be, and is hereby, set aside.

      The court further ORDERS that:

      (1) The Secretary is hereby enjoined from enforcing against

plaintiff overpaYment determinations calculated by use of 42
C.F.R.    §   418.309(b) (1);

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        (2) The Secretary is hereby enjoined from using 42 C.F.R.

 §   418.309(b) (1) to calculate the maximum amount to be paid to

 plaintiff for hospice care, as contemplated by 42 U.S.C.

 §   1395f(i) (2), for any past, present, or future accounting year;
 and

        (3) The Secretary shall cause to be refunded to plaintiff

 all monies paid by plaintiff to the Medicare program pursuant to

 previously calculated repaYment obligations for accounting years

 November I, 2005-0ctober 31, 2006, and Novemb                  2006-0ctober
 31, 2007.

       SIGNED February 22, 2010.




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